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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

LARRY RAY SWEARINGEN,                        }
                                             }
          Petitioner,                        }
VS.                                          }   CIVIL ACTION NO. H-09-300
                                             }
RICK THALER,                                 }
                                             }
          Respondent.                        }

                            MEMORANDUM AND ORDER

         On December 8, 1998, Melissa Trotter disappeared after last being seen with

Larry Ray Swearingen. The police arrested Swearingen on December 11, 1998, for

charges unrelated to her disappearance. Swearingen has been in custody ever since. On

January 2, 1999, hunters discovered Ms. Trotter’s decomposing body in the Sam Houston

National Forest. The State of Texas charged Swearingen with the capital murder of Ms.

Trotter committed during the course of either a kidnapping or a sexual assault. A jury

convicted Swearingen in 2000 and he received a death sentence.

         Swearingen has aggressively challenged his conviction and sentence, including in

one full round of federal habeas proceedings.       Since his first state habeas action,

Swearingen has advanced a variety of unsuccessful attempts to prove that he is actually

innocent of Ms. Trotter’s murder. State and federal courts have provided exceptional

opportunities for Swearingen to develop his actual-innocence arguments. On January 26,

2009, the day before his scheduled execution, the Court of Appeals for the Fifth Circuit

tentatively authorized Swearingen to file a successive federal habeas petition. In re

Swearingen, 556 F.3d 344 (5th Cir. 2009). Swearingen now hopes to litigate claims




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based on his argument that Ms. Trotter did not die until well after the police took him into

custody on December 11, 1998.

         Congress has limited this Court’s jurisdiction at this stage of the proceedings

solely to the question of whether the Anti-Terrorism and Effective Death Penalty Act

allows Swearingen to litigate another federal habeas action. As indicated below, the

Court finds that Swearingen has not met the AEDPA’s requirements for filing a

successive petition. Accordingly, the Court dismisses Swearingen’s habeas petition.

I.       Background

         Courts have previously set forth the facts surrounding Ms. Trotter’s murder, but

they bear repeating here because they provide important context to the issues now before

this Court. As previously noted, Melissa Trotter disappeared from the Montgomery

County Community College campus on December 8, 1998. No one saw her again until

her body was discovered in a densely forested area on January 2, 1999.

         The condition of Ms. Trotter’s corpse when found has been a vital matter. On

January 3, 1999, Dr. Joye M. Carter, Chief Medical Examiner for Harris County, Texas,

performed an autopsy on Ms. Trotter’s body. Dr. Carter described the corpse as “that of

a young Caucasian female whose facial appearance was distorted due to decomposition

change characterized by skin slipping, greenish-black discoloration of the facial skin, and

marbling of the skin of the legs, arms, chest and back.” Dr. Carter described the body as

“cool and damp.” The autopsy report pointed to several signs of decomposition on the

corpse. For instance, “[t]he skin of the body diffusely showed splotchy areas of red,

green, and gray discoloration secondary to postmortem mold growth. There was

generalized skin slippage with discoloration and marbling over the entire body surface.”




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Dr. Carter noted that several parts of Ms. Trotter’s body – such as her chest, upper

extremities, lower extremities, anal and vaginal orifices – were “remarkable only for

decompositional change.” Dr. Carter’s report emphasized the marked decomposition of

Ms. Trotter’s head:

         The scalp hair was slipping due to decompositional change. . . . The facial
         skin appeared to have been removed due to decompositional change and
         postmortem insect and animal activity. Upon reflecting the residual soft
         tissue around the right eye, rodent teeth impressions were identified. The
         nasal cartilage was intact. Soft tissue was absent from the nose and
         midfacial areas. . . . The tongue was protruding and dark black in color
         due to decompositional change. The oral cavity contained fly larvae. . . .
         Both ears were markedly discolored due to decompositional change. . . .
         The neck was remarkable for a brown stocking ligature which was tied in
         the back in a simple knot. There was a 3 by 2-3/4 inch defect on the
         anterior neck with liquefaction of tissue, maggot activity, and blood
         present.

         In addition to her external observations, Dr. Carter performed an extensive

internal examination. To summarize, some of Ms. Trotter’s internal organs “maintained

their usual anatomic relationships” and were “intact,” though some organs were

“remarkable for decompositional change” or had “mild decompositional change.” For

instance, Dr. Carter observed “loss of the normal tissue architecture” in the pancreas,

“[t]he left and right adrenal glands were markedly autolyzed,” and the kidneys had

“architectural change [that was] obscured due to decompositional change.” The brain

was “semi-liquid” and had a “complete loss of normal tissue architecture when

remove[d].” Dr. Carter observed that the contents of Ms. Trotter’s stomach included a

“tan liquid in which large pieces of white meat, consistent with chicken, and pieces of

potato, consistent with french fries were observed.” The record contains numerous

photographs from the crime scene and autopsy which reflect Dr. Carter’s observations.




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         Dr. Carter’s report stated that she preserved tissue samples for both toxicological

and histological examination.1 Specifically, “[r]epresentative sections of all major organs

were retained in formalin.” Dr. Carter never performed a microscopic examination of

any tissue.

         Dr. Carter’s report listed the cause of death as “asphyxia due to ligature

strangulation.” Her report, however, did not estimate on what date Ms. Trotter died.

                                   Trial Testimony and Evidence

         The State of Texas charged Swearingen with capital murder committed in the

course of a kidnapping or sexual assault. Because no eyewitness to her murder came

forward and Swearingen provided no confession to the crime, the State of Texas built its

case on circumstantial evidence proving Swearingen’s culpability. One reviewing court

has listed the extensive evidence of guilt which the State adduced at trial as follows:

         •       On the evening of December 7, 1998, two of [Swearingen’s]
                 acquaintances, the Fosters, witnessed a phone conversation in
                 which [Swearingen] arranged for a lunch meeting with a girl at a
                 library the following day, and [Swearingen] then told the Fosters
                 that the girl was Melissa Trotter, a college student from Willis;

         •       Three witnesses saw [Swearingen] sitting with Melissa in the
                 Montgomery College library between 11:30 a.m. and 1:30 p.m. on
                 December 8, 1998;

         •       Melissa’s Biology teacher saw Melissa leave the Montgomery
                 College library with a male shortly after 1:30 p.m.;

         •       Melissa’s car remained in the Montgomery College parking lot
                 following her disappearance on December 8, 1998;




1
         The subsequent toxology report states that “[u]nless otherwise requested, specimens will be
         discarded one year after the date of receipt.” The record does not include a histological report or
         any statement about the potential destruction of tissue samples preserved for microscopic
         examination.



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         •   At 2:05 p.m. on December 8, 1998, [Swearingen] called Sarah
             Searle and said that he was at lunch with a friend;

         •   Sometime around 3:00 p.m. on December 8, 1998, [Swearingen’s]
             landlord saw [Swearingen’s] truck leaving from behind his home;

         •   At 3:03 p.m. on December 8, 1998, [Swearingen] placed a cell
             phone call that utilized a cell tower near FM 1097 in Willis, Texas,
             which would be consistent with [Swearingen] driving from his
             home to the Sam Houston National Forest;

         •   [Swearingen’s] wife testified that she found their home in disarray
             on the evening of December 8, 1998, but none of the Swearingen’s
             property was missing;

         •   [Swearingen’s] wife observed Melissa’s cigarettes and lighter in
             [Swearingen’s] home that evening, and those items were
             subsequently recovered from [Swearingen’s] home during the
             investigation;

         •   [Swearingen] contacted police that evening and reported an alleged
             burglary of his home, at which time he falsely claimed to have
             been out of town from 11:00 a.m. on December 7, 1998, through
             7:30 p.m. on December 8, 1998, and also falsely claimed that
             someone had stolen his VCR and jet ski;

         •   There was no sign of any prying mechanism having been used on
             the door to [Swearingen’s] home, and his jet ski was subsequently
             found at a repair shop where [Swearingen] had dropped it off for
             maintenance prior to Melissa’s disappearance;

         •   [Swearingen] called an ex-girlfriend on the evening of December
             8, 1998, and told her that he was in trouble and that the police
             might be after him;

         •   When the Fosters heard that Melissa Trotter was missing on
             December 9, 1998, they contacted [Swearingen], who claimed he
             did not remember the last name of the girl with whom he had met
             the day before;

         •   When Mrs. Foster then told [Swearingen] that she recalled him
             saying the last name “Trotter,” and that a girl named Melissa
             Trotter was now missing, the phone went dead;

         •   On December 11, 1998, [Swearingen] told an acquaintance that he
             anticipated being arrested by Montgomery County authorities;



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         •   Later in the day on December 11, 1998, after [Swearingen]
             observed an officer radio in his truck’s license plate number,
             [Swearingen] sped away and led the officer on a high speed chase
             that ended in front of the home of [Swearingen’s] mother and
             stepfather;

         •   [Swearingen] was arrested on several outstanding warrants
             following the high-speed chase, at which time he asked that his
             hands be placed in front of him rather than behind because his arm
             and ribs were sore;

         •   Following [Swearingen’s] arrest, law enforcement authorities
             observed and photographed red marks on [Swearingen’s] neck,
             cheek, and back;

         •   On December 17, 1998, two neighbors of [Swearingen’s] mother
             and stepfather collected numerous pieces of torn paper from along
             their street, which turned out to be Melissa Trotter’s class schedule
             and some health insurance paper work Melissa’s father had given
             to her;

         •   Melissa’s body was discovered in an area of the Sam Houston
             National Forest with which [Swearingen] would have been familiar
             from previous time spent there;

         •   The ligature used to asphyxiate Melissa was a single leg torn from
             a pair of panty hose belonging to [Swearingen’s] wife, the
             remainder of which was recovered from [Swearingen’s] home
             during the investigation;

         •   The Harris County Chief Medical Examiner testified that during
             the digestive process, a person’s stomach will usually not empty in
             less than two hours, and any food within the stomach at death will
             remain there;

         •   The contents of Melissa’s stomach at the autopsy, which included
             what appeared to be chicken and a french fry-like form of potato,
             were consistent with the tater tots she had eaten at Montgomery
             College shortly before leaving with [Swearingen] and the Chicken
             McNuggets she and [Swearingen] had apparently purchased at the
             nearby McDonald’s on December 8, 1998;

         •   Based on the state of decomposition of Melissa Trotter's body,
             including the presence of fungi that take “several weeks’ time” to
             develop, the Harris County Chief Medical Examiner estimated



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                 Melissa Trotter’s death to have occurred twenty-five days prior to
                 the discovery of her corpse, which is consistent with December 8,
                 1998;

         •       A note that had been given to Melissa by another student on the
                 morning of December 8, 1998, was found in a pocket of Melissa’s
                 jeans during the autopsy;

         •       There were numerous cross-matches of fibers, hairs, and paint
                 between Melissa’s body and clothing and [Swearingen’s] jacket,
                 master bedroom, and truck;

         •       Two of Melissa’s hairs that were recovered from [Swearingen’s]
                 truck still contained the anagen root, indicating they had been
                 forcibly removed from Melissa’s head;

         •       A Luminal test on the seats of [Swearingen’s] truck indicated that
                 they had been wiped down with Armor All, and two empty
                 containers of Armor All wipes were found in the garbage at
                 [Swearingen’s] home;

         •       When [Swearingen’s] good friend, Elyese Ripley, visited him in
                 jail on January 9, 1999, [Swearingen] asked her to lie and say that
                 she had been with him on the day Melissa disappeared and that
                 they had gone to the Texaco-McDonald’s near Montgomery
                 College;

         •       Around early May of 1999, [Swearingen] fabricated a purportedly
                 anonymous exculpatory letter that described the murder with
                 explicit details that were confirmed by investigators, the medical
                 examiner, and [Swearingen’s] own medical expert, including the
                 facts that Melissa was injured on the left side of her face, her neck
                 was cut, one of her shoes had fallen off, she was laid among the
                 bushes on her back, and she was wearing red underwear;

         •       Later in May of 1999, [Swearingen] was asked by a cell mate
                 whether he had committed the murder and [Swearingen] replied,
                 “Fuck, yeah, I did it,” and stated that he was just trying to avoid
                 the death penalty.

Ex parte Swearingen, No. WR-53,613-04, Supplemental Record at 510-15 (footnotes and

record citations omitted).2


2        The Court of Criminal Appeals found that the record supported these findings and adopted them
         without alteration. See Ex parte Swearingen, 2008 WL 152720 (Tex. Crim. App. 2008)


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         The State called Dr. Carter as a witness in the guilt/innocence phase. The State’s

examination of Dr. Carter did not comprehensively discuss the date on which Ms. Trotter

was murdered. Instead, the State’s questioning focused on: (1) whether Swearingen had

raped her and (2) whether he killed her by strangling her with pantyhose or by stabbing

her in the neck. The date of Ms. Trotter’s death was only a tangential and somewhat

inferential issue at trial.

         Dr. Carter, nonetheless, conveyed her external observations of the body. Dr.

Carter testified that “[t]he body was received in a state of moderate, decomposition, that

means the body tissue had begun to break down, change color and become very soft and

liquidy.” Tr. Vol. 28 at 18-19. She explained that “there is a lot of damage and

decmpositional change [to the front of the body], darkening to facial skin.” Tr. Vol. 28 at

30-31. She explained that photographs showed “some skin discoloration in the stomach

area . . . [which] is part of the body breaking down . . . and there appears to be some

fungal organisms gathering between the layers of skin tissue[.]” Tr. Vol. 28 at 22-23.

She explained that fungal growth would grow in “dank and wet” conditions after “several

weeks’ time have elapsed.” Tr. Vol. 28 at 27-28. Dr. Carter testified that the fungal

growth “assists us in engaging a time of death.” Tr. Vol. 28 at 28. The stomach contents,

according to Dr. Carter’s testimony, provided another factor that could help tell when Ms.

Trotter died.    Tr. Vol. 28 at 38-39.        Dr. Carter commented that “cool temperature

somewhat slows down decomposition. Warm temperature will accelerate, speed it up,

usually.” Tr. Vol. 28 at 50.




         (unpublished). The state courts relied on this same list of inculpatory factors in denying
         Swearingen’s third state habeas application. Ex parte Swearingen, WR-53,613-05, at 169-73.



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         The State’s questioning about internal organs, however, was brief. The State

inquired whether Dr. Carter saw anything “remarkable or unremarkable” about “the

abdominal region,” “the heart area,” “the lungs,” and the “pancreas and spleen.” Tr. Vol.

28 at 42-43.       Dr. Carter answered that she observed nothing remarkable, “just

decompositional change.” Tr. Vol. 28 at 42-43.

         In the only interchange relating directly to the date that Ms. Trotter died, the State

asked Dr. Carter: “Based on the evidence that you saw and the evidence you’ve since

gathered, do you have an opinion as to how long that body had been there?” Tr. Vol. 28

at 45. Dr. Carter replied that she “arrived at the opinion of the body being dead for

approximately 25 days or so, based upon the appearance.” Tr. Vol. 28 at 45.

         Cross-examination of Dr. Carter focused on the manner of death, whether she had

facial bruising, and the possibility that she had been sexually assaulted. The questioning

briefly turned to how long the stomach contents would take to digest, Tr. Vol. 28 at 91-

94, but otherwise did not address the evidence that would establish a date of death.

         After investigating those facts establishing Swearingen’s identity as the murderer,

his trial attorneys focused their efforts on attacking the dual aggravators in the indictment

that made his a capital offense. Trial counsel argued that, even if Swearingen killed Ms.

Trotter, the evidence did not conclusively prove that he kidnapped or sexually assaulted

her. To that end, trial counsel retained the services of Dr. Raul Lede, a pathologist,

largely to counter testimony that Swearingen strangled or raped Ms. Trotter. In a post-

judgment affidavit, trial counsel explained that “Dr. Lede . . . confirmed the findings of

Dr. Carter regarding the date and time of death.” Thus, Dr. Lede’s testimony did not

dwell on the time of death, other than to comment that it “is probably one of the most




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challenging question[s] for a pathologist” and that “the answer is one of the least

dependable answers that a pathologist can provide[.]” Tr. Vol. 32 at 72. Trial counsel

briefly asked Dr. Lede about the length of time it took to digest a meal. Tr. Vol. 32 at 72-

73. On cross-examination, however, Dr. Lede opined that, if Ms. Trotter’s body had been

exposed to the elements for 25 days, the ligature around her neck “would have gotten

tighter.” Tr. Vol. 32 at 112.

          Swearingen took the stand at trial and proclaimed his innocence. He testified that,

after he had lunch with Ms. Trotter on December 8, he left her in the company of another

man and then visited his grandmother. The trial evidence and testimony soundly proved

that Swearingen fabricated his alibi.3            The jury found Swearingen guilty of capital

murder.

          In a separate punishment phase, the prosecution presented evidence of numerous

extraneous offenses committed by Swearingen, including aggravated kidnappings,

aggravated sexual assaults, false imprisonment, burglary, false identification as a police

officer, and theft. Many of the kidnapping and sexual assault offenses bore striking

similarity to the killing of Ms. Trotter. While incarcerated before trial, Swearingen was a

penological problem as he attempted to escape, possessed a weapon, and fought in jail.

The jury answered Texas’ special issues in a manner requiring the imposition of a death

sentence. The Texas Court of Criminal Appeals affirmed Swearingen’s conviction and

sentence on direct appeal, specifically finding that the evidence sufficiently supported the

jury’s verdict. Swearingen v. State, 101 S.W.3d 89 (Tex. Crim. App. 2003).




3
          While Swearingen now claims to be actually innocent, he does not explicitly rely on the alibi he
          proffered at trial nor provide new evidence to support that story.



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                                 Post-Conviction Litigation

          Since the finality of his conviction, Swearingen has filed a convoluted tangle of

habeas applications, pro se motions, mandamus actions, and amended pleadings.

Throughout, Swearingen has tried to cast doubt on various aspects of the trial evidence

against him. Swearingen’s challenges have taken evolving and overlapping paths, though

no court to this point has seriously questioned the integrity of his conviction.

          Swearingen maintained his innocence at trial. The most prominent feature of

Swearingen’s post-judgment litigation has been his reliance on science to limit the

amount of time that Ms. Trotter’s corpse could have been on the forest floor. At each

level of post-judgment review, Swearingen has renovated and modified different habeas

claims which, at their core, assert his innocence on the grounds that Ms. Trotter was

killed after the police arrested him on December 11, 1998.

          In his first state habeas action, Swearingen relied on expert affidavits which

suggested that the progression of insect development associated with Ms. Trotter’s corpse

could only have started in mid-December. Swearingen initially faulted trial counsel for

not “using forensic evidence, particularly entomological evidence” to “challenge the date

of death.” (Instrument No. 20 at 10).        Swearingen’s post-conviction entomological

expert placed Ms. Trotter’s death in a narrow window during mid-December when

weather conditions were favorable for insect colonization. The state court, however,

found that Swearingen provided insufficient data, especially concerning weather

conditions immediately around the body, to question the jury’s verdict.            Ex parte

Swearingen, No. 53,619-01, at 475-76.          More importantly, the state habeas court

observed that Swearingen’s argument that Ms. Trotter died in mid-December fatally




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conflicted with unimpeached information about the contents of her stomach, “the state of

decomposition of Melissa Trotter’s body, the fungal development present, and visible

insect progression[.]” Ex parte Swearingen, No. 53,619-01, at 476.

          In his first federal habeas action, this Court funded expert assistance to investigate

entomological evidence further, though Swearingen did not explicitly raise an actual-

innocence claim.       Swearingen’s petition also accused Dr. Carter of having “pro-

prosecution bias,” “intentionally skew[ing] her testimony in order to ensure a capital

conviction,” “shap[ing] her testimony to fit the State’s theory of the case,” and

“abandon[ing] scientific and medical objectivity,” though he did not seek relief on that

basis. (Swearingen v. Dretke, 04-cv-2058, Instrument No. 21 at 6-7). This Court denied

Swearingen’s petition and the Fifth Circuit affirmed, Swearingen v. Quarterman, 192

F. App’x 300 (5th Cir. 2006).

          Swearingen returned to state court and refined his arguments about entomological

evidence.      A second state habeas action extensively examined whether the insect

colonization found on Ms. Trotter’s body indicated a limited period of exposure to the

elements that postdated Swearingen’s December 11, 1998 arrest. Swearingen’s expert

witnesses there considered entomological evidence and a variety of additional

information, including: the effects of the climate as shown by official reports and

Swearingen’s research; the unique environmental conditions in which her body was

found as shown by crime scene videos and photographs; and Ms. Trotter’s weight both

before death and during the autopsy.

          The state district court held an evidentiary hearing on Swearingen’s second state

habeas application. The uneven decomposition of Ms. Trotter’s corpse was a prominent




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issue in the hearing. According to Swearingen’s experts, parts of her body, including her

face, showed marked decomposition but other areas showed much less or almost no

decomposition. Swearingen’s experts opined that Ms. Trotter’s corpse had probably not

been exposed to the elements for more than a week or two. Nevertheless, Swearingen’s

experts could not reconcile entomological evidence with Dr. Carter’s observation that

some parts of Ms. Trotter’s body showed distinct decay. As this Court will discuss later,

Swearingen’s experts clumsily tried to square their findings with the uneven

decomposition and the known facts about the crime. Ultimately, the state court found

that Swearingen’s efforts did not exculpate him, largely because his experts could not

harmonize their findings with the circumstances of the crime and all the scientific

evidence. Ex parte Swearingen, No. 53,619-04, at 505-42. On January 16, 2008, the

Court of Criminal Appeals adopted the lower court’s findings and denied relief.

          Swearingen then filed a third state habeas action challenging the date of death

(among other issues). This time, Swearingen supported his claims with an affidavit from

Dr. Carter. Dr. Carter’s affidavit explained that she had focused her trial testimony only

on external features of the body, especially “marked decomposition of the head and neck

region,” “the degree of maggot activity in this region of the body,” and “fungal growth,”

because the attorneys’ questioning shaped her answers. Her affidavit stated:

          I was not asked by prosecutors, or by defense counsel, to address the
          significance of my internal examination of Ms . Trotter’s body. Nor was I
          asked to address in detail the question of how long Ms. Trotter’s body had
          been left exposed in the Sam Houston National Forest. Instead, the focus
          of the prosecution and the defense was on whether the forensic evidence
          indicated a rape or kidnapping had occurred. The majority of the
          questions from both sides were directed at whether autopsy findings
          indicated vaginal bruising, blunt trauma to the head, and whether the cause
          of death was asphyxiation by ligature or a sharp forced entry wound to the
          neck.



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          Dr. Carter’s affidavit noted that “[d]ecomposition in this case was strikingly

uneven. The decomposition seen in during [sic] the external examination of the body,

particularly of the head and neck region, was substantial.” In particular, she noted

“partial skeletonization of the head and neck region due to decomposition and insect and

mammalian scavenging. As stated in the report, soft tissue was absent from the nose and

midfacial areas, and the tongue was dark due to decompositional changes, and there was

skin slippage and slippage of the scalp.” But she also recognized that the decomposition

of the internal organs “appears less advanced.” Dr. Carter opined that the characteristics

of the internal organs and Ms Trotter’s weight would “support[] a forensic opinion that

the body had not been exposed more than two weeks in the forest environment,” though

she did not explicitly state how that opinion would impact her earlier testimony.

          Dr. Carter did not reconcile her internal and external observations, nor explain

how the limited internal decomposition fit into the other facts known about the crime.

Importantly, Dr. Carter did not revise or recant the observations she made in the autopsy

report. See Swearingen, 556 F.3d at 348 (“Dr. Carter does not address the correctness of

her original testimony based on decomposition and fungal growth[.]”). In fact, her

affidavit reinforced her earlier opinion that external evidence of decomposition,

especially of the head and neck region, was substantial.

          Swearingen tried to raise actual-innocence and ineffective-assistance-of-counsel

claims based on Dr. Carter’s affidavit, but the Texas Court of Criminal Appeals found




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that those claims did not meet Texas’ stringent requirements for filing a successive

habeas application. See TEX. CODE CRIM. PRO. art 11.071 §5.4

                    Claims Swearingen Championed on the Eve of Execution

          Facing an execution date of January 27, 2009, Swearingen filed a fourth

successive state habeas action. Swearingen based this action on a “factual basis . . . [that]

was unavailable until the recent microscopic examination of the tissues in this case.” Ex

parte Swearingen, No. 53,619-09, at 11. Swearingen based his state habeas claim on

histological tissue from the autopsy that the medical examiner’s office had preserved in a

paraffin block. Swearingen outlined his efforts to obtain tissue samples from the autopsy,

emphasizing his interaction with Dr. Luis Sanchez from the Harris County Medical

Examiner’s Office, whom he had relied on as an expert witness in earlier habeas

proceedings. Swearingen stated that “Dr. Sanchez did not indicate at any of these times

that microscopic evidence might be relevant to [the date Ms. Trotter was killed and left in

the woods] and, it appears that he did not prepare or review any of it.” Ex parte

Swearingen, No. 53,619-09, at 12. On December 17, 2008, “upon hearing that the

[Texas Court of Criminal Appeals] had denied relief on his third application for writ of

habeas corpus,” Swearingen “contacted Dr. Sanchez’s office by telephone and asked that

the [medical examiner] look for any tissue.” Ex parte Swearingen, No. 53,619-09, at 12.

Swearingen told the Court of Criminal Appeals that he previously “did not have any

reason to believe that there was a paraffin block at the [medical examier’s] office that

included samples of forensically important muscle and nerve tissue,” the medical



4
          The Court of Criminal Appeals authorized consideration of a claim that the prosecution had
          presented false evidence on a different factual basis than the one Swearingen raises in this federal
          action.



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examiner’s office “reported that it had a paraffin block containing lung and unidentified

fatty tissue” on January 15, 2009. Ex parte Swearingen, No. 53,619-09, at 13.

          Swearingen had slides of the tissue prepared and sent to Dr. Lloyd White, a

Deputy Medical Examiner for Tarrant County, Texas who had previously provided

affidavits relating to the timing of Ms Trotter’s death. After a microscopic analysis, Dr.

White concluded that the “tissues are of an individual who has been dead no more than

two or three days.” Dr. White limited his conclusion to the newly analyzed tissue,

without regard to additional information known about the condition of Ms. Trotter’s body

or the circumstances of her death. He notably did not reconcile his findings with the

incongruous evidence showing extensive decomposition on other parts of Ms. Trotter’s

body. Dr. White also did not square his new opinion that Ms. Trotter had been dead for

only two or three days with earlier affidavits provided by Swearingen’s experts that

suggested a longer period of exposure in the woods.

          In a succinct order, the Court of Criminal Appeals refused to allow Swearingen to

proceed in another successive habeas action based, in part, on Dr. White’s affidavit. Ex

parte Swearingen, 2009 WL 249778 (Tex. Crim. App. Jan. 27, 2009).

          Swearingen had contemporaneously filed a motion in the Fifth Circuit asking

permission to litigate a second federal habeas petition. Among other issues, Swearingen

argued that: he is actually innocent; the prosecution presented false and misleading

testimony from Dr. Carter by not asking her questions about the internal conditions in

Ms. Trotter’s corpse; trial counsel failed to investigate the internal findings; and his trial

attorneys should have developed the same evidence which Dr. White did through

examining the paraffin block. The Fifth Circuit authorized this Court to consider whether




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a successive federal action should proceed on three issues: “(1) Giglio violations in the

State’s presentation of Dr. Carter’s testimony; and (2) Strickland violations in trial

counsel’s cross-examination of Dr. Carter, and [trial counsel’s] failure to develop

histological evidence.” Swearingen, 556 F.3d at 349.

          This Court, pursuant to the Fifth Circuit’s action, must consider whether federal

law conclusively allows Swearingen to litigate the merits of a successive federal habeas

corpus petition.

II.       A District Court’s Duty to Determine Whether a Petitioner Meets
          Successiveness Filing Requirements

          Federal habeas review strongly encourages a petitioner to present all legal and

factual arguments in one habeas petition. See McCleskey v. Zant, 499 U.S. 467, 498

(1991) (recognizing “the principle that petitioner must conduct a reasonable and diligent

investigation aimed at including all relevant claims and grounds for relief in the first

federal habeas petition”).     Accordingly, the AEDPA “greatly restricts the power of

federal courts to award relief to state prisoners who file second or successive habeas

corpus applications.” Tyler v. Cain, 533 U.S. 656, 661 (2001). Congress intended its

limitation on successive petitions to encourage finality and to preserve comity with the

state courts. See Calderon v. Thompson, 523 U.S. 538, 559 (1998) (“Section 2244(b) of

the statute is grounded in respect for the finality of criminal judgments.”); Johnson v.

Dretke, 442 F.3d 901, 909 (5th Cir. 2006) (“One purpose of AEDPA is to enforce the

preference for the state’s interest in finality of judgment over a prisoner’s interest in

additional review.”). To that end, the AEDPA generally anticipates a “one bite at the

post-conviction apple” approach to federal habeas review. United States v. Barrett, 178

F.3d 34, 57 (1st Cir. 1997).



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          The AEDPA protects against abuse of the habeas writ by mandating that, “if the

prisoner asserts a claim that was not presented in a previous petition, the claim must be

dismissed unless it falls within one of two narrow exceptions.” Tyler, 533 U.S. at 661.

The AEDPA sets out a bifurcated procedure before conferring jurisdiction over an

inmate’s successive claim. First, a circuit court preliminarily authorizes the filing of a

successive action if a petitioner shows that it is “reasonably likely” that his successive

petition meets section 2244(b)’s “stringent requirements.” In re Morris, 328 F.3d 739,

740 (5th Cir. 2003). This determination, however, is “‘tentative’” in that a district court

must dismiss the habeas action that the circuit has authorized if the petitioner has not

satisfied the statutory requirements. Reyes-Requena v. United States, 243 F.3d 893, 899

(5th Cir. 2001) (quoting Bennett v. United States, 119 F.3d 468, 469 (7th Cir. 1997)).

Thus, the statute makes the district court a “second-gatekeeper” that “conduct[s] a

‘thorough’ review to determine if the [petition] ‘conclusively’ demonstrates that it does

not meet AEDPA’s second or successive motion requirements.” Reyes-Requena, 243

F.3d at 898-99 (quoting United States v. Villa-Gonzalez, 208 F.3d 1160, 1165 (9th Cir.

2000)); see 28 U.S.C. § 2244(b)(4).

          The Fifth Circuit’s tentative decision that Swearingen has met the AEDPA’s

filing requirements does not bind this Court. See Swearingen, 556 F.3d at 349 (“We

reiterate that this grant is tentative in that the district court must dismiss the motion that

we have allowed the applicant to file, without reaching the merits, if the court finds that

the movant has not satisfied the § 2244(b)(2) requirements for the filing of such a

motion.”); see also Jordan v. Secretary, Dept. of Corrections, 485 F.3d 1351, 1358 (11th

Cir. 2007) (stating that it makes “no sense for the district court to treat [that] prima facie




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decision as something more than it is or to mine [the circuit court’s] order for factual ore

to be assayed. The district court is to decide the § 2244(b)(1) & (2) issues fresh, or in the

legal vernacular, de novo.”); In re Johnson, 322 F.3d 881, 883 (5th Cir. 2003) (finding

the circuit court’s decision to be “tentative”); Brown v. Lensing, 171 F.3d 1031, 1032 (5th

Cir. 1999) (“[T]he trial court must make its own determination that the statutory

prerequisites are satisfied.”). This Court “must conduct a thorough review to determine if

[Swearingen’s pending petition] conclusively demonstrates that it does not meet

AEDPA’s second or successive motion requirements.” Johnson, 322 F.3d at 883.

          The burden of showing statutory compliance rests on the petitioner. See Moore v.

Dretke, 369 F.3d 844, 845 n.1 (5th Cir. 2004) (“The applicant bears the burden of

demonstrating that the petition does in fact comply with the statute, and the district court

shall dismiss the petition unless that showing is made.”); 28 U.S.C. § 2244(b)(4) (“A

district court shall dismiss any claim presented in a second or successive application that

the court of appeals has authorized to be filed unless the applicant shows that the claim

satisfies the requirements of this section.”) (emphasis added). If a petitioner fails to meet

his burden, this Court is “required to dismiss” the petition. Tyler, 533 U.S. at 667.

          Before his successive action will continue, Swearingen must prove:

          (1)    the factual predicate for the claim could not have been discovered
                 previously through the exercise of due diligence; and

          (2)    the facts underlying the claim, if proven and viewed in light of the
                 evidence as a whole, would be sufficient to establish by clear and
                 convincing evidence that, but for constitutional error, no
                 reasonable factfinder would have found the applicant guilty of the
                 underlying offense.

28 U.S.C. § 2244(b)(2)(B). A petitioner must comply with both prongs of 28 U.S.C.

§ 2244(b)(2)(B) to proceed in a successive habeas action. See Johnson, 442 F.3d at 911



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(noting that a petitioner’s failure to comply with one prong makes it unnecessary to

address the second one). In other words, this two-prong statutory requirement only

“affords an opportunity to bring new claims where the petitioner can show that he was

not at fault for failing to raise those claims previously and where the claim, if

meritorious, would sufficiently undermine confidence in the judgment at issue.” Evans v.

Smith, 220 F.3d 306, 323 (4th Cir. 2000).

          The complex nature of Swearingen’s arguments requires much care in sorting out

his claims. While the Fifth Circuit only allowed him to proceed on three discrete issues,

Swearingen has extensively briefed issues that the Fifth Circuit refused to authorize –

such as actual innocence.           Swearingen also supports his claims with arguments he

developed at trial and thereafter, such as entomological dating. Swearingen’s successive

federal petition, however, explicitly raises the following grounds for relief:

          1.      Swearingen is actually innocent of the murder.

          2.      Trial counsel provided constitutionally ineffective legal assistance
                  by: (a) not adequately investigating histological evidence and (b)
                  inadequately cross-examining Dr. Joye M. Carter, the medical
                  examiner who testified at trial.

          3.      The State of Texas recklessly or knowingly sponsored false or
                  misleading testimony in violation of Giglio v. United States, 405
                  U.S. 150 (1972), through Dr. Carter’s testimony.

          This Court has already found that federal law does not recognize actual innocence

as a ground for relief.5 In fact, the Fifth Circuit explicitly refused to allow Swearingen to

advance an actual innocence claim. Only the issues designated by the Fifth Circuit are

properly before the Court: “(1) Giglio violations in the State’s presentation of Dr.
5
          Insofar as Swearingen anticipates that the Supreme Court may eventually sanction an actual-
          innocence cause of action, he may seek authorization for filing a new action on that “new rule of
          constitutional law” when it is “made retroactive to cases on collateral review by the Supreme
          Court.” 28 U.S.C. § 2244(b)(2)(A).



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Carter’s testimony; and (2) Strickland violations in trial counsel's cross-examination of

Dr. Carter, and his failure to develop histological evidence.” Swearingen, 556 F.3d at

349. The Court emphasizes that this preliminary review is not an adjudication of the

merits of Swearingen’s claims or an application of the AEDPA’s deferential standards,

but the limited and narrowly cabined review Congress has given federal courts before

jurisdiction vests to consider successive habeas claims.

          Swearingen has had a full opportunity to show compliance with the statute.

(Instrument Nos. 5 and 6). Swearingen has filed an amended petition and submitted other

briefing. (Instrument No. 24).6 Respondent has filed a pleading arguing that Swearingen

has not met the AEDPA’s successive petition requirements.                         (Instrument No. 27).

Swearingen has filed a reply. (Instrument No. 34). This Court now finds, under its

statutory authority in 28 U.S.C. §2244(b)(4), that Swearingen has not shown the AEDPA

allows him to proceed in another federal habeas action.

III.      The Factual Predicate for the Claims Existed Well Before Swearingen’s
          Successive Petition

          This Court must first conclusively determine whether “the factual predicate for

the claim could not have been discovered previously through the exercise of due

diligence.”      28 U.S.C. § 2244(b)(2)(B)(i).             The Supreme Court refers to section

2244(b)(2)(B)(i) as a gateway for claims based on “new evidence,” a “new factual

6
          Swearingen’s amended petition summarily asks this Court to hold an evidentiary hearing on his
          compliance with 28 U.S.C. § 2244(b)(2). When Swearingen asked for a hearing in his initial
          pleadings, the Court noted that Swearingen “did not describe what witnesses or evidence he
          wishes to present.” (Instrument No. 5 at 3). He still has not stated what testimony or evidence he
          wishes to develop at a hearing. Swearingen must show the need for an evidentiary hearing. He
          has not shown with any particularity why one is necessary, or even available, at this juncture.
          Because Swearingen has not indicated what evidence he wishes to present or which witnesses he
          wants to call, any evidentiary hearing would be a fishing expedition. The Court finds that the
          objective factors in the record indicate that a hearing is not necessary. In particular, Swearingen
          has given the Court no reason to believe that additional factual development will aid in deciding
          whether his successive claims were previously available to him.



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predicate,” or “newly discovered” facts. See Gonzalez v. Crosby, 545 U.S. 524, 531

(2005); Pace v. DiGuglielmo, 544 U.S. 408, 416 (2005); Duncan v. Walker, 533 U.S.

167, 189-90 (2001) (Breyer, J., dissenting); Thompson, 523 U.S. at 554. This Court must

decide whether the evidence Swearingen relies on “was not previously discovered or

discoverable[.]” Leal Garcia v. Quarterman, 573 F.3d 214, 221 (5th Cir. 2009).

          Section 2244(b)(2)(B)(i) asks whether diligent efforts could have uncovered the

factual basis for claims “previously.” Presumably, this looks at whether the inmate could

have and should have uncovered and advanced his claims in his first federal habeas case.

This is an objective inquiry. The statute does not ask if an inmate acted with alacrity and

ardor. The Fifth Circuit has instructed that “the plain text of § 2244(b)(2)(B) suggests

that due diligence is measured against an objective standard, as opposed to the subjective

diligence of the particular petitioner of record.” Johnson, 442 F.3d at 908. In other

words, this Court does not evaluate whether the inmate himself was diligent in seeking

the new factual predicate; the Court focuses on whether the information was available

with “due diligence.” In re McGinn, 213 F.3d 884, 885 (5th Cir. 2000) (faulting a

petitioner for not showing why he could not have advanced his “new” claims earlier).

Consequently, a petitioner does not meet the AEDPA showing if the record includes

“evidence that would put a reasonable attorney on notice of the existence” of the

allegedly new material. Johnson, 442 F.3d at 908.7

          This Court appointed federal counsel for Swearingen on July 24, 2003, he filed

his first federal petition on May 21, 2004, and this Court denied relief on September 8,


7
          This inquiry is separate from the actual innocence inquiry in 28 U.S.C. § 2244(b)(2)(B)(ii). The
          relative strength or weakness of the claims, or an inmate’s ability to show actual innocence, plays
          no part in the 28 § 2244(b)(2)(B)(i) analysis. The question is of the availability of evidence, not of
          its impact.



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2005. Swearingen v. Dretke, 04-cv-2058 (S.D. Tex.). Swearingen must show that the

evidence in this case was unavailable to him before his first habeas action.

          The claims that the Fifth Circuit tentatively authorized rely on two factual

predicates: (1) information regarding the State’s interaction with its witnesses found in

Dr. Carter’s 2007 affidavit and (2) microscopic analysis of a block of paraffin containing

tissue preserved from Ms. Trotter’s autopsy. Swearingen has not shown that those two

factual predicates “could not have been discovered” before he filed his first habeas

action.

          A.     Dr. Carter’s Affidavit

          As noted above, Dr. Carter signed an affidavit in 2007 wherein she stated that

neither the prosecution nor defense asked about her observations of the internal

conditions of Ms. Trotter’s corpse, and that certain other factors would have better

informed her trial testimony. The Fifth Circuit observed that Swearingen’s Gigilo claim

“rests not on the correctness of [Dr. Carter’s testimony] (which could have been disputed

at any time) but on the State’s interactions with its witnesses, which could not have been

known before her affidavit.”       Swearingen, 556 F.3d at 348.       To proceed on this

successive claim, Swearingen must show that knowledge about the State’s interaction

with its witnesses, flowing from Dr. Carter’s affidavit, “could not have been discovered

previously through the exercise of due diligence.”         28 U.S.C. § 2244(b)(2)(B)(i).

Swearingen has not met this burden.

          Swearingen extensively chronicles his efforts to develop this habeas claim. To

summarize, during his initial habeas proceedings Swearingen began collecting

temperature and entomological data, his efforts in the successive state actions amplified




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that data, his challenge to the time of death through entomology prompted him to analyze

the condition of Ms. Trotter’s internal organs, he purportedly sought remaining tissue

samples from her autopsy, he consulted with several experts about various factors that

would disprove the State’s case, and finally he “asked forensic pathologist, Dr. Joye M.

Carter, to review the evidence and provide an opinion in support of the innocence claims

he raised in his third state application for a writ of habeas corpus.” (Instrument No. 20 at

45). Swearingen claims that he “did not develop the basis for asking Dr. Carter to

reconsider her opinion until after he obtained expert forensic opinions from other

pathologists demonstrating that the 25 day post-mortem interval . . . was unsupported by

the evidence.” (Instrument No. 34 at 15). Through her affidavit, Swearingen first

obtained Dr. Carter’s opinion about the information she possessed and the questions the

parties asked her at trial. Also, the affidavit was the first opportunity for Dr. Carter to

comment on certain pieces of information (“a video of the crime scene dated January 2,

1999”; “medical records giving Melissa Trotter’s weight before she was reported

missing”; and “temperature date showing daily high, low, and average temperatures in

the Conroe, Texas area for the period December 8, 1998 through January 2, 1999”).

          Swearingen only briefly discusses why he could not have taken Dr. Carter’s

affidavit before 2007.8 Other than referring to her affidavit as the result of an evolving

investigative effort, Swearingen hints that Dr. Carter was “reclusive” (Instrument No. 20

8
          Swearingen does state that “his three constitutional claims [were] unavailable until the recent
          microscopic examination of the tissues in this case.” (Instrument No. 20 at 43). As Swearingen’s
          production of Dr. Carter’s affidavit predates the microscopic examination, the Court summarily
          rejects this argument to allow consideration of his Giglio claim under the AEDPA standards. As
          noted by Respondent, “nothing in the pleadings suggests that Dr. Carter has seen the histological
          evidence, and her reaction to the evidence is unknown.” (Instrument No. 24 at 31). Swearingen
          also mentions that he did not obtain her affidavit until after other pathologists had reconsidered her
          findings. Dr. Carter’s affidavit does not state that she reviewed that information when giving her
          opinion on the internal conditions of Ms. Trotter’s body.



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at 45 n.13) or “stopped practicing pathology altogether” (Instrument No. 34 at 15), so

when he began looking for her, he only found her with difficulty late in the habeas

process.

          Respondent asserts that Swearingen could have and should have sought Dr.

Carter’s affidavit long before October 31, 2007.        Respondent argues that, “[h]ad

Swearingen presented the evidence to her earlier, she likely would have formed her

opinion earlier. Indeed, the evidence – the temperatures, the crime-scene information,

and the weight information – was available before or at trial. . . . Swearingen waited

some seven years to deliver the evidence to Dr. Carter to allow her to form her new

opinion. Seven years does not bespeak due diligence.” (Instrument No. 24 at 10).

           While Swearingen extensively discusses the efforts he has made to uncover

evidence about the time of death, the AEDPA inquiry is not whether he was active in

trying to obtain relief. The AEDPA does not ask if habeas counsel has acted zealously or

actively sought new evidence. The statute deals with the availability of the evidence.

The question is an objective one: whether the factual predicate that underlies his claim

was available if he acted with due diligence. Swearingen has arguably shown that he has

sought various ways of challenging his conviction and sentence. He has pursued several

different avenues of attacking the evidence that proved Swearingen was the killer.

However, Swearingen has not shown that Dr. Carter would not have provided the same

information from in her 2007 affidavit if someone had only asked her earlier.

          Swearingen’s first habeas application assailed Dr. Carter’s opinion on the date

Ms. Trotter died. Swearingen could have obtained the empirical evidence on which Dr.

Carter based her revised opinion – the temperature, the crime-scene information, and the




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weight information – before trial or anytime thereafter.9 The fact that Dr. Carter’s trial

testimony did not address certain factors (such as Ms. Trotter’s weight and the outside

temperature) was obviously available at trial. See In re Nealy, 223 F. App’x 358, 365

(5th Cir. 2007) (finding a prosecutorial misconduct claim was previously discoverable

when the factual basis was available at trial).10                The fact that the State limited its

questioning of her was likewise obvious. Had Swearingen presented the readily available

evidence to her earlier, nothing suggests that she would not have formed her opinion

earlier. See In re Boshears, 110 F.3d 1538, 1540 (11th Cir. 1997) (stating that due

diligence means the petitioner “must show some good reason why he or she was unable

to discover the facts” and that merely alleging that he “did not actually know the facts

underlying his or her claim does not pass this test”). Swearingen at any time could have

asked Dr. Carter why she limited her testimony, thus providing the same information as

he obtained in the 2007 affidavit. See In re Schwab, 531 F.3d 1365, 1366 (11th Cir.

2008) (refusing to authorize a successive petition on the changed testimony of an expert

witness who testified at trial when the petitioner could have presented the expert with

additional information and obtained his affidavit at any time after trial). Swearingen has

not shown that anything impeded him from taking Dr. Carter’s before 2007.




9
          Swearingen attached an affidavit from his entomological expert in his first state habeas action that
          considered weather conditions. Swearingen also included newspaper accounts as attachments that
          referenced Ms. Trotter’s weight. The crime scene photographs and video have been available
          since trial.
10
           Swearingen argues that trial counsel should have realized that important information like weather
          conditions were missing from Dr. Carter’s testimony. The burden placed on trial counsel to
          investigate such information also falls on Swearingen’s appellate and habeas attorneys.
          Swearingen has not shown why he could not have realized the limited nature of Dr. Carter’s
          testimony, just as he alleged trial counsel should have, which would have prompted him to secure
          her explanation of why she limited her testimony.



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          The most concrete statement Swearingen makes about why he only took her

affidavit so late in the process was that he “tried to locate Dr. Carter before [his third state

application the he filed on January 16, 2008] but he could not. She quit pathology after

leaving the HCME office in about 2002, and did not resume practice for several years.

She apparently was reclusive.” (Instrument No. 20 at 45 n.13). This statement, however,

cannot carry the day. In his “Motion for Order Authorizing Filing and Consideration of

Second Petition for Writ of Habeas Corpus under 28 § 2254” which he filed in the Fifth

Circuit, Swearingen cited a 2004 news article about Dr. Carter. That article, published

several months before Swearingen filed his federal habeas petition in 2004, explains that

Dr. Carter left the medical examiner’s office and had started a forensic consulting firm in

Houston.       See Jenna Colley, Former Medical Examiner Probes Different Career,

HOUSTON BUSINESS JOURNAL, Jan. 9, 2004. During the time period contemporaneous

with Swearingen’s initial habeas action, Dr. Carter was actively consulting with attorneys

in the Houston area. Swearingen has not shown that diligent investigative efforts could

not have found her then.

          Here, Swearingen does not show that the evidence “could not have been

discovered previously through the exercise of due diligence.” Instead, he shows that,

while busily challenging his conviction on other grounds, he did not think to pursue the

instant theory until 2007. Swearingen has not shown that an assiduous investigator,

armed with the readily available empirical data, could not have secured an affidavit from

Dr. Carter from any time before 2007.11 No evidence exists, and he has suggested none,


11
          The state courts found in one of his post-conviction actions that Swearingen “was free to present
          pathological evidence disputing Dr. Carter’s estimate of 25 days either during trial or in
          conjunction with his first 11.071 application, but he declined to do so.” Ex parte Swearingen, No.
          WR-53,613-04 Supplemental Record at 529.



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which shows that the information in any way “could not have been discovered

previously.” Swearingen has shown nothing more than that he did not think to secure her

affidavit previously.

          B.     Histological Evidence

          Swearingen claims that trial counsel should have developed a defense based on

the microscopic examination of issues taken during Ms. Trotter’s autopsy. Swearingen

contends that he was unaware until weeks before his scheduled execution that the

medical examiner’s office retained tissue samples in a paraffin block. On January 20,

2009, a week before his execution, an expert reviewed five slides containing tissue

samples that had been preserved in the paraffin histology block. Dr. Lloyd White, an

expert who has provided several affidavits on Swearingen’s behalf, stated in an affidavit

that “the issues are of an individual that has been dead no more than two or three days.”

(Instrument No. 14, Exhibit A.1). Swearingen argues that he cannot be faulted for not

having the paraffin block even “as late as December 17, 2008, . . . [when] on that date the

Medical Examiner merely reported a histology block with a piece of fat and lung tissue.”

(Instrument No. 34 at 18). Swearingen apparently informally asked the medical examiner

to look for tissue samples while investigating entomological data after his initial round of

habeas review.      Swearingen suggests that he thought this material may have been

destroyed within a year of trial. Thus, he argues, the tissue samples “could not have been

discovered previously through the exercise of due diligence.”                   28 U.S.C.

§ 2244(b)(2)(B)(i).

          Swearingen has made repeated efforts, both in state and federal court, to attack

the timing of Ms. Trotter’s death by showing weaknesses in Dr. Carter’s autopsy. As part




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of those efforts, Swearingen consulted with Dr. Luis A. Sanchez, Chief Medical

Examiner at the Harris County Medical Examiner’s Office. Swearingen states that he

made oral requests for tissue samples from Dr. Sanchez, but was told that none existed.

Swearingen has not verified when he made oral requests. Swearingen has not shown that

oral requests for the production of such evidence constitutes due diligence or whether

some other mechanism, such as written requests or court orders, would have produced the

histological evidence before the eve of execution.                 Swearingen possibly could have

secured the paraffin block by official requests or by court order.12

          But more importantly, the record shows that Swearingen should have been aware

during his first round of federal habeas proceedings that the paraffin block was still in the

custody of the Harris County Medical Examiners’ Office. The record does not support

Swearingen’s assertion that he “did not have any reason to believe [before December

2008] that there was a paraffin block at the [medical examiner’s] office that included

samples of forensically valuable muscle and nerve tissue.” (Instrument No. 20 at 47; see

also Ex parte Swearingen, No. 53,619-09, at 13). A letter from Dr. Sanchez dated

December 21, 2004, explicitly informed Swearingen that Dr. Carter had taken tissue

samples and preserved them:

                  Only one microscopic glass slide was prepared for the entire case,
          which contains a piece of lung and fatty tissue. No other paraffin blocks
          were found in the histology laboratory under case number OC99-02. Dr.
          Carter only testified as to her gross findings but did not state that she had
          not taken samples for microscopic evaluation, nor was she asked if she
          took sections for microscopic evaluation of any of the injuries and the
          significance of such sampling.


12
          Swearingen asserts that he only became aware of that paraffin block after he investigated whether
          entomological evidence could pin down a different death date. Still, Swearingen was aware of the
          entomological evidence before he filed his initial federal petition. (Swearingen v. Dretke, 04-cv-
          2058 [S.D. Tex.], Instrument No. 19 at 6).



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Swearingen, in fact, filed that letter twice with this Court during his initial round of

habeas proceedings. (Swearingen v. Dretke, 04-cv-2058 (S.D. Tex.), Instrument No. 29,

Exhibit A and Instrument 31, Exhibit B). Dr. Sanchez speaks of the paraffin block in the

present tense and describes the material it preserved. The letter does not say that it was

destroyed, but merely explains that Dr. Carter’s trial testimony did not discuss the

samples. The letter put Swearingen on notice that the block existed, even if he had not

yet decided that he would need to analyze that information.13

          Swearingen has not explained why he did not secure that evidence during this

initial habeas action, much less show that it was unavailable before that time.

Swearingen has not shown that, had he asked about the tissue samples at trial, during the

first state habeas action, or anytime before filing his federal petition, the medical

examiner’s office would not have told him about the paraffin block as it did in 2004.

          Dr. Sanchez’s letter proves that Swearingen could have discovered the preserved

tissue previously through the exercise of due diligence, had he only pursued that line of

inquiry. In fact, Swearingen’s ineffective-assistance-of-counsel claim presumes that a


13
          In his second state habeas action, Swearingen referenced that letter and commented that Dr.
          Sanchez “confirmed that microscope slides . . . had never been made” to confirm whether Ms.
          Trotter’s corpse showed signs of vaginal bruising, but did not refer to the explicit statement that
          samples of “lung and fatty tissue” were still available in a paraffin block. Ex parte Swearingen,
          No. 53,613-04, at 17. The Court notes that Swearingen has never raised the claim that the paraffin
          block was suppressed as understood by Brady v. Maryland, 373 U.S. 83 (1963). In state court,
          Swearingen asserted that: “Dr. Carter testified at trial that she had not conducted a microscopic
          examination, and her histology report did not indicate that tissues had been preserved except in
          formalin. Undersigned counsel was informed by the Harris County Medical Examiner that these
          samples had been discarded.” Ex parte Swearingen, 53-629-09, at 12 (Tex. Crim. App. Jan. 23,
          2009). While it is true that Dr. Carter’s report mentioned that she took tissue samples and
          preserved them in formalin, it does not say she made slides, the trial testimony did not discuss
          whether or not she took those samples. Her silence is not the same as saying she did not preserve
          samples. Swearingen’s expert at trial, however, stated that “the Medical Examiner’s Office, not
          infrequently, and I think one report indicates that they obtain tissues which they save, but not
          necessarily prepared for microscope examination.” Tr. Vol. 29 at 77. Swearingen makes no
          attempt, and has not suggested that he could, verify that the medical examiner’s office said it had
          destroyed the samples.



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trial attorney exerting reasonable efforts should have inquired into the histological

evidence; Swearingen presents no reason why federal habeas counsel should not be held

to that same expectation.       Swearingen, by all accounts, only began that line of

investigation on the eve of execution. The fact that Swearingen did not yet comprehend

how to use that information does not make it objectively unavailable. As recognized by

Respondent, “[h]e did not have to wait until Dr. White examined the histological

evidence in 2009.” (Instrument No. 24 at 54).

          C.     Conclusion on 28 U.S.C. § 2244(b)(2)(B)(i)

          Since his conviction in 2000, Swearingen has commenced a pattern of piecemeal

attacks on the date that Ms. Trotter was murdered. Only now, over nine years later, he

has marshaled all the available information, but the record does not show that he could

not have done so before waiting until the eve of his execution in January 2009. The

Court, therefore, finds that Swearingen has not shown that the allegedly new information

and evidence was not previously available. Swearingen’s failure to meet 28 U.S.C.

§ 2244(b)(2)(B)(i) deprives this Court of jurisdiction over the merits of his successive

habeas claims.      For the reasons outlined briefly below, the Court also finds that

Swearingen fails to satisfy the second prong of section 22544(b)(2)(B).

IV.       Alternatively, Swearingen Has Not Clearly and Convincingly Shown Actual
          Innocence in Light of the Evidence as a Whole

          Even if Swearingen could meet the first prong of the AEDPA’s successiveness

requirements, he would still need to show “the facts underlying the claim, if proven and

viewed in light of the evidence as a whole, would be sufficient to establish by clear and

convincing evidence that, but for constitutional error, no reasonable factfinder would




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have found the applicant guilty of the underlying offense.” 28 U.S.C. § 244(b)(2)(B)(ii).

This inquiry, in essence, addresses actual innocence.

          The Fifth Circuit has described this standard as “‘a strict form of ‘innocence,’ . . .

roughly equivalent to the Supreme Court’s definition of ‘innocence’ or ‘manifest

miscarriage of justice’ in Sawyer v. Whitley, [505 U.S. 333 (1992)].’” Johnson, 442 F.3d

at 911 (quoting 2 Randy Hertz & James S. Liebman, FEDERAL HABEAS CORPUS

PRACTICE & PROCEDURE § 28.3e, at 1459-60 (5th ed. 2005)); see also House v. Bell, 547

U.S. 518, 539 (2006) (comparing 28 U.S.C. § 2244(b)(2)(B)(ii) to the standard in

Sawyer); In re Brown, 457 F.3d 392, 395 (5th Cir. 2006) (same). This “miscarriage of

justice” exception “is concerned with actual as compared to legal innocence,” Sawyer,

505 U.S. at 339, and “[t]he term ‘actual innocence’ means factual, as opposed to legal,

innocence.”      Johnson v. Hargett, 978 F.2d 855, 859 (5th Cir. 1992) (emphasis in

original). A petitioner faces a heavy burden in showing factual innocence because the

law only recognizes an inmate’s actual innocence in “an extraordinary case.” Murray v.

Carrier, 477 U.S. 478, 496 (1986).

          Because of the unsettling proposition that a man could be actually innocent of

capital murder, but executed nonetheless due to procedural impediments, the Court will

briefly note that Swearingen’s evidence of actual innocence falls far short of the

AEDPA’s standard. Section 2244(b)(2)(B)(ii) asks this Court to evaluate “the facts

underlying the claim.” Swearingen relies on affidavits from experts who maintain that

histological and other evidence proves that Ms. Trotter could only have been dead a few

days when her body was discovered on January 2, 1999, meaning that Swearingen, who

had been in jail since December 11, 1998, could not have committed the offense. This




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 Court must look at whether “the facts underlying [his] claim . . . viewed in light of the

 evidence as a whole” would show that, “but for constitutional error, no reasonable

 factfinder would have found” Swearingen guilty. 28 U.S.C. § 2244(b)(2)(B)(ii). This

 Court will review Swearingen’s compliance with section 2244(b)(2)(B)(ii) on all three of

 his successive claims at the same time, though the result would be the same if the Court

 analyzed each claim separately.

               Since the finality of judgment, Swearingen has relied on the opinion of expert

 witnesses to exculpate himself. Swearingen has only attached a few of the resultant

 affidavits to his latest federal petition. This Court, however, must take a longitudinal

 look at all the evidence he has previously presented. At various points, Swearingen’s

 experts have provided opinions as expressed in the table below.

  Name              Date of       Evidence Considered by               Estimated Date of Death or                  Record Citation
                  Affidavit or      the Expert Witness                     Time of Exposure
                  Testimony
Dael E.          February 14,     Crime scene and autopsy            “insects would have first colonized Ms.       Ex parte Swearingen,
Morris           2002             photographs, autopsy               Trotter’s remains December 16th to            No. 53,619-01 at
                                  information, climate and weather   18th, 1998”                                   146-47; Swearingen
                                  conditions, entomological                                                        v. Dretke, 04-cv-
                                  evidence                                                                         2058, Instrument No.
                                                                                                                   21, Exhibit B
Dael E.          February 14,     Same information as her first      A more conservative estimate of date          Swearingen v.
Morris           2004             affidavit                          than first affidavit “would have yielded a    Dretke, 04-cv-2058,
                                                                     time of death after December 18, 1998”        Instrument No. 21,
                                                                                                                   Exhibit C
Dael E.          Sometime in      Same information as before but     “oviposition leading to colonization by       Ex parte Swearingen,
Morris           2007             in the context of new              blow flies . . . occurred December 18th,      No. 53,619-04 at
                                  temperature data                   1998”                                         110-15
Dr. James J.     January 19,      The autopsy report, Ms. Morris’    “Ms. Trotter’s body was exposed and           Ex parte Swearingen,
Arends           2007             affidavit, temperature data, Dr.   colonized by blow flies after December        No. 53,619-04 at
                                  Carter’s trial testimony           11, 1998 . . . if death occurred before       118-19
                                                                     December 11, 1998, the body would
                                                                     have to have been covered and stored”
Dr. James J.     March 26, 2007   Same as first affidavit            Conditions from December 8 to                 Ex parte Swearingen,
Arends                                                               December 18, 1998 did not prevent             No. 53,619-04 at
                                                                     insect egg deposition                         351-56
Dael E.          March 29, 2007   Earlier information and new        While conditions on December 8 and 9th        Ex parte Swearingen,
Morris                            briefing by the State              provided opportunities of ovipositing, fly    No. 53,619-04 at
                                                                     development did not suggest such a            358-59
                                                                     date before December 18th
Dr. Lloyd        March 29, 2007   Crime scene and autopsy            States that a pathologist cannot make as      Ex parte Swearingen,
White                             information, a letter from Dr.     precise estimation as Dr. Carter did at       No. 53,619-04 at
                                  Emilio Sanchez regarding           trial; autolysis to the pancreas and spleen   369-70
                                  vaginal bruising                   happen “within a day or so of death,
                                                                     sometimes within hours,” meaning that
                                                                     Ms. Trotter was a “recently deceased
                                                                     individual”




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Dr. Glenn M.     March 29, 2007     Autopsy report                     “post-mortem interval is less than            Ex parte Swearingen,
Larkin                                                                 twenty-five days”                             No. 53,619-04 at
                                                                                                                     372-73
Dr. Luis         State hearing on   Autopsy report and photographs,    Not impossible that she was murdered on       Ex parte Swearingen,
Sanchez          July 2, 2007       temperature data                   December 8 but “that body most likely         No. 53,613-04,
                                                                       was not in that forest for more than          Evidentiary Hearing
                                                                       two weeks. It probably was some               at 17, 23
                                                                       place before that, but not in that forest.”
Dr. James J.     State hearing on   Autopsy report and photographs,    “I do not think this body was in the          Ex parte Swearingen,
Arends           July 2, 2007       crime scene videotape, Ms.         woods probably more than a week” but          No. 53,613-04,
                                    Morris’ opinions, weather          someone possibly froze her body and           Evidentiary Hearing
                                    conditions                         moved it                                      at 74-82
Dr. Joye M.      October 31,        Her trial testimony, autopsy       Condition of pancreas spleen and liver        Ex parte Swearingen,
Carter           2007               report, crime scene video,         “support[] a forensic opinion that the        No. 53,619-05 at 60-
                                    medical records giving Ms.         body was not exposed . . . until              62; Ex parte
                                    Trotter’s weight, temperature      sometime after December 12, 1998,” as         Swearingen, No.
                                    data                               does the condition of breast tissue and       53,619-09 at 59-61
                                                                       the weight at autopsy
Dr. Glenn M.     October 1, 2007    Autopsy report, some trial         “December 23, 2007, is the soonest that       Ex parte Swearingen,
Larkin                              testimony and photographs, and     Trotter’s body could have been left in the    No. 53,619-09 at 88-
                                    his earlier report                 woods” but other evidence “strongly           93
                                                                       support[s] a date as late as December
                                                                       30” meaning “Mr. Swearingen was not
                                                                       person who left Ms. Trotter’s body in the
                                                                       . . . [f]orest”
Dr. Lloyd        December 12,       Autopsy report and photographs,    Concurring with Dr. Carter that the           Ex parte Swearingen,
White            2007               crime scene photographs,           internal observations mean that her body      No. 53,619-05 at
                                    temperature data, medical          “was left in the woods within fourteen        109-10
                                    records, affidavits from Dr.       days of the discovery of the body” and
                                    Larkin and Dr. Carter              with Dr. Larkin that “the body was left in
                                                                       the woods at or on about December 23,
                                                                       1998 at the soonest, and probably left
                                                                       there no sooner than December 27 or
                                                                       28, 199[8].”
Dr. Lloyd        January 21,        Slides of paraffin histology       “tissue in this section is entirely           Ex parte Swearingen,
White            2009               block, temperature data            incompatible with the body having             No. 53,619-09 at 53-
                                                                       been left at this location earlier that 29    54
                                                                       or 30 December 1998”




Dr. Lloyd        April 14, 2009     Same data a previous affidavits    “Ms. Trotter died no sooner than              Instrument No. 29,
White                               and additional histological        December 29 or December 30, 1998”             Exhibit A.2
                                    analysis
Dr. Stephen      No date            Autopsy report, slides,            “the date of death on or about                Instrument No. 29,
Pustilnik                           temperature data, and affidavits   December 26, 1998”                            Exhibit A.3
                                    from Dr. White and Dr. Carter




               When remanding this case, the Fifth Circuit noted that inconsistencies among the

 affidavits would be problematic for Swearingen. See Swearingen, 556 F.3d at 348 n.6

 (“Obviously, although each expert opines that the body was not placed in the woods on

 December 8, 1998, the differences undermine the credibility of their conclusions.”); cf.

 Dowthitt v. Johnson, 230 F.3d 733, 742 (5th Cir. 2000) (a reviewing court must test


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affidavits upon which an actual innocence claim rests for “inconsistency with the

physical evidence”).

          Swearingen asserts that his experts’ opinions are not in conflict, but are in

agreement that that Ms. Trotter’s body could not have been in the woods for a 25-day

period. The Fifth Circuit recognized that area of confluence, but noted that the different

opinions still raised credibility questions. See Swearingen, 556 F.3d at 348 n.6. The

Fifth Circuit specifically observed the following differences in the expert opinions: Dr.

Carter suggested a two-week period of exposure; Dr. Larkin a three- or four-day period;

Dr. Sanchez a ten- to fifteen-day period (with possible refrigeration before that); and Dr.

White a two- or three-day period. This Court would note that the other expert opinions

exacerbate the lack of consensus observed by the circuit court: Ms. Morris’ opined that a

secondary colonizing insect oviposited on December 18; Dr. Arends stated that the body

had been in the woods for about a week, but was probably frozen before then; and Dr.

Pustilnik thought someone dumped her body on December 26. The Court also observes

that some of the expert witnesses have given opinions that have progressed, without

reconciling earlier ones: Dr. Larkin has gone from a period “less than twenty-five days”

to “as late as December 30”; Dr. White has given periods ranging from “a day or so” to

“no sooner than December 27 or 28” to no earlier “than 29 or 30 December.” At some

times, Dr. White has agreed with Dr. Carter’s new assessment of a two-week period for

some factors, but in other places suggested that some organs which were well-preserved

usually degrade “within hours.” Each expert has blessed their opinion with scientific

certainty.




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          Swearingen’s experts, however, have not consistently described the level of

certitude science could place on when Ms. Trotter died. When Swearingen first began

attacking the date of death, he first challenged Dr. Carter’s ability to pinpoint when she

died with any precision. Dr. White provided an affidavit which stated:

                 Pathologists cannot accurately estimate a post mortem
                 interval with the precision that Dr. Carter indicated she was
                 capable of. Pathological estimates of time of death, using
                 the type of evidence on which Dr. Carter relied, cannot be
                 made with confidence after a body has been left
                 unprotected for far less time than 25 days. A pathologist
                 could only estimate a relatively broad range of weeks or
                 even months during which Ms. Trotter died.

Ex parte Swearingen, No. 53,613-05, at 153. As Swearingen’s attacks on the evidence

have progressed, however, he has with greater and greater conviction estimated the date

she died. Dr. White himself, for instance, has now stated “with scientific certainty” that

“Ms Trotter died no more than two or three days before the body was recovered on

January 2, 1999.” (Instrument No. 20, Exhibit A.2). Certainly, “differences undermine

the credibility of [the experts’] conclusions.” Swearingen, 556 F.3d at 348.

          Inconsistencies between the various affidavits apparently flow from gaps in the

evidence used by the experts. Taken at face value, Swearingen’s new scientific evidence

appears highly exculpatory. Nevertheless, the credibility of that testimony depends on its

relationship to the remainder of the evidence. Swearingen relies on experts who agree

that the body had been exposed to the elements after he was jailed on December 11,

1998, though the experts have not looked at every piece of the evidentiary puzzle in

making that assessment. Assuming that science can conclusively determine the length of

time Ms. Trotter’s body was exposed to the elements, any trustworthy analysis should




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take into account the entire breadth of the pathological evidence.14                            Some of

Swearingen’s experts have looked at insects, some have looked at cells, and some have

reviewed photographs. Swearingen now provides ample argument about how an earlier

death date determined from histological analysis alone would influence his culpability.

Yet the experts looking at histological evidence have not reconciled their opinions with

entomology, photographic evidence, or the all the facts available to them. None of

Swearingen’s experts have credibly considered the condition of Ms. Trotter’s body “in

light of the evidence as a whole.”

          The record contains evidence which completely contradicts Swearingen’s

contention that Ms. Trotter died at most three days before her body was discovered. The

autopsy report, testimony and evidence at trial, and testimony at the state evidentiary

hearing have demonstrated that Ms. Trotter’s corpse exhibited obvious decomposition.

Early in his first federal action, Swearingen himself admitted that “[t]he body was in an

advanced state of decomposition, making autopsy conclusions difficult.” (Swearingen v.
14
          When the Court of Criminal Appeals refused to allow Swearingen to file a successive habeas
          application raising same claims now before the Court, one judge wrote a concurrence recognizing
          the inherent weakness in raising an actual innocence claim without taking into account the whole
          of the evidence: “The hallmark of a scientifically sound hypothesis is that it is consistent with,
          and accounts for, the totality of the known facts.” Assuming the truth of Swearingen’s claim, the
          judge then contrasted it with the weighty evidence against Swearingen. The judge found:
                  All of this evidence is wildly inconsistent with the hypothesis that
                  Melissa magically ‘disapparated’ from the earth for twenty-one days
                  and then reappeared, as if from suspended animation, dead on the floor
                  of the Sam Houston National Forest on December 29th or 30th. . . .
                  When all of the other known facts and evidence are wholly inconsistent
                  with a particular scientific hypothesis, the reasonably objective scientist
                  revisits that original hypothesis, looking for a flaw. Although one does
                  not doubt the honesty and sincerity of these medical examiners, their
                  theory that Melissa did not die until December 29th or 30th because of
                  the relatively intact state of some of her internal organs is flatly
                  contradicted by an incredible wealth of other evidence. They have
                  made no attempt to account for or explain this other evidence or
                  provide an alternate hypothesis.
          Ex parte Swearingen, 2009 WL 249778, at **7-8 (Tex. Crim. App. 2009) (Cochran, J.,
          concurring).



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Dretke, Instrument No, 19 at 32) (emphasis added). Swearingen acknowledged the

“obvious fact that the body had certainly been dead for over 72 hours” because “the

autopsy report noted that ‘rigor had passed and livor was obscured due to

decompositional change[].’” (Swearingen v. Dretke, Instrument No, 19 at 32) (emphasis

added).     Swearingen has elsewhere agreed that the “autopsy revealed significant

decompositional changes especially in the head and neck area due to exposure and larval

and fungal activity.” Swearingen v. Dretke, No. 05-70039, Appellant’s Brief, at 5

(emphasis added). Dr. Carter’ affidavit does not diminish the force of those statements

because, even to the extent that Dr. Carter may now have added to some of her earlier

conclusions, she did not retract her observations. The record amply supports Dr. Carter’s

statement in her new affidavit that “[t]he decomposition seen in . . . the external

examination, particularly of the head and neck region, was substantial.”

          Swearingen’s more recent affidavits, however, purport to describe a nearly

pristine body, unaffected by time or the elements. Swearingen’s experts routinely refer to

the corpse as well-preserved. The description of the corpse in Dr. Carter’s autopsy report

– which is consistent with photographs in the record – differs significantly from that

described by Swearingen’s experts. Clearly, parts of Ms. Trotter’s body had reached a

later stage of decomposition while other parts showed less decay. The photographic

evidence from trial shows a disturbing disunity in the progression of decay and animal

damage.      Nearly every affidavit from Swearingen’s experts ignores factors most

decisively indicating a long period of exposure, such as significant decomposition to the

head and neck, the fungal growth observed by Dr. Carter, and the contents of her stomach

which still featured the remnants of Ms. Trotter’s last meal eaten on December 8, 1998.




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For the most part, the expert witnesses have commented on portions of the evidence, but

apparently have not considered that evidence as it relates to the condition of the body as a

whole.15 The experts have looked at a few threads of evidence without considering the

whole mosaic.

          For the experts’ opinions to be credible, clear, or convincing, they must conform

to all the evidence. Scientific opinion provides the law with the most assistance when it

accounts for the totality of the known facts. The history of this case provides little

confidence that the credibility of Swearingen’s experts would hold up when their

opinions are compared to all the facts. At its core, the recently presented histological

evidence in Swearingen’s latest petition differs little in exculpatory thrust from the

entomological evidence that Swearingen relied on in his successive state habeas actions.16

When confronted in the state habeas hearing with evidence showing significant

decomposition, Swearingen’s experts floundered. They could not reconcile their opinion

of insect colonization with other facts known about the crime.

          One of Swearingen’s experts, Dr. Luis Sanchez, testified that “the pattern of the

decomposition in this case is a little bit unusual. It’s not what we tend to see in most of

our cases, especially with the mold that [Dr. Carter] saw all over her body.” Ex parte

Swearingen, No. 53,613-04, Evidentiary Hearing at 26. Looking at all the facts, Dr.
15
          Frustrated with the limited approach taken by the experts in this case, one judge on the Court of
          Criminal Appeals asked “when did [Ms. Trotter] die?” and answered: “The scientists are all over
          the board. Theirs is like the Indian tale of the blind men touching the various parts of the elephant
          and coming to entirely different conclusions about the animal.” Ex parte Swearingen, 2009 WL
          249778, at 6 (Tex. Crim. App. Jan. 27, 2009) (Cochran, J., concurring).
16
          The state habeas court held a hearing in Swearingen’s second habeas action. That court
          specifically considered entomology, and exhibited concerns about delving into the “quality of the
          pathology report of about any kind of inaccuracies of that report” but stated that “an opinion
          about how long that body was exposed to the elements, that might be relevant.” Ex parte
          Swearingen, No. 53,613-04, Evidentiary Hearing at 16. Oddly, Swearingen has relied on Dr.
          White consistently throughout his numerous actions to challenge the date of death, but did not call
          him as a witness in that action.



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Sanchez would not give an opinion on the date of death, he would only make

assumptions about the period of time that Ms. Trotter’s body had been exposed to the

elements. He said: “That body most likely was not in that forest for more than two

weeks.      It probably was some place before that, but not in that forest.” Ex parte

Swearingen, No. 53,613-04, Evidentiary Hearing at 17 (emphasis added). Dr. Sanchez

could not say that it was impossible for her “to have been murdered on December 8th[.]”

Ex parte Swearingen, No. 53,613-04, Evidentiary Hearing at 23.

          The other expert Swearingen called to testify, Dr. James Arends, also said: “I do

not think this body was in the woods probably more than a week.” Ex parte Swearingen,

No. 53,613-04, Evidentiary Hearing at 74.17 Dr. Arends, however, could not adequately

explain why Ms. Trotter’s head “is the only part of the body that has any significant parts

of decomposition.        That seems really difficult to believe that only the head would

decompose when the entire body was laying in the woods the entire time.” Ex parte

Swearingen, No. 53,613-04, Evidentiary Hearing at 82. Dr. Arends agreed that there was

a “discrepancy between the rates [of] decomposition,” noting it was “[f]rom one end of

this body to the other[.]” Ex parte Swearingen, No. 53,613-04, Evidentiary Hearing at

82.

          With the “significant levels of decomposition” of Ms. Trotter’s head, Dr. Arends

and Dr. Sanchez created a speculative explanation that does not completely exculpate

Swearingen. Both experts could only reconcile their conclusions by conjecturing that

someone froze Ms. Trotter’s body and then placed it in the woods – a theory which,




17
          The state habeas court found that Dr. Arends was not a credible witness. Ex parte Swearingen,
          No. 53,613-04, at 527.



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though originating with his experts, Swearingen now mocks.18 Given their testimony, the

state habeas court found that the expert witnesses “did not contradict Dr. Carter’s

testimony about the degree of fungal development” or “concerning Melissa Trotter’s

stomach contents.” Ex parte Swearingen, No. 53,613-04 at 529. Swearingen’s newly

presented affidavits and evidence contain the same evidentiary holes that Dr. Arends and

Dr. Sanchez confronted. The question is how a reasonable jury would respond to that

information.

          To the limited extent that Swearingen’s experts have considered factors showing a

longer period of exposure in the woods, they have not fared much better than those who

testified in the evidentiary hearing. For instance, Dr. Pustilnik is the only expert whose

affidavit comments on the condition of Ms. Trotter’s head. In direct opposition to the

autopsy report, the photographs, and testimony from Dr. Carter, Dr. Sanchez, and Dr.

Arends, he attributes all disfigurement on the head and neck to “predatory activity.”19

Dr. Pustilnik, in essence, found hardly any evidence of decomposition, making his

testimony not credible.

          Dr. White’s April 14, 2009 affidavit comments on fungal growth, but then only to

opine that Dr. Carter did not provide enough information about the fungus she observed.


18
          For instance, Swearingen told the Fifth Circuit when moving to file a successive action: “The only
          way out, for the State, is to imagine an accomplice who preserved the body and threw it in the
          forest more than a week after Mr. Swearingen was jailed. However, the State itself has never
          resorted to this rank speculation.” He did not inform the circuit court that his experts, in fact, had
          resorted to that speculation. The Court clarifies that it does not adopt the theory that Swearingen
          murdered Ms. Trotter and then another mysterious individual froze her body and dumped it in the
          woods. This Court only observes the fact that Swearingen’s experts, and some State actors, have
          advanced that theory because they cannot come to a scientific conclusion about what happened.
          This Court’s role in considering the actual innocence claim is not to sanction one theory as what
          really happened to Ms. Trotter. This Court’s role is to look at Swearingen’s claim in light of all
          the evidence and record.
19
          Dr. Pustilnik also determines from observing the autopsy photos that Ms. Trotter’s stomach
          contained “whole red meat (not ground meat) and scallions,” not the last meal she was seen eating.



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Dr. White, in fact, accuses Dr. Carter of ineptitude by incorrectly identifying typical

discoloring seen in decomposition as fungal growth. No other expert has questioned Dr.

Carter’s findings in that regard. In fact, Swearingen’s experts in the state evidentiary

hearing adopted her observations after they had seen the same photographs. In the

isolated instances where Swearingen’s experts have mentioned the evidence Dr. Carter

relied on to establish a date of death, they have written off, rather than reconciled, her

observations. Swearingen’s strained attempts at this late date to challenge the previously

unquestioned external observations are not credible.

          A jury looking at “the evidence as a whole” could not ignore the facts showing

that Ms. Trotter’s body had been on the forest floor for more than a few hours or days.

See Swearingen, 556 F.3d at 348 n.6 (noting that the credibility of the expert affidavits

suffers from not taking into account evidentiary hearing evidence about secondary

colonization by insects and the contents of Ms. Trotter’s stomach). Importantly, the jury

would have to plug the narrow conclusions made by Swearingen’s experts into the broad

facts the State adduced which pointed to him as the killer. See Thompson, 523 U.S. at

565 (stating that a court cannot “ignore the totality of evidence of . . . guilt” when

considering a claim of actual innocence). Examination of the tissues, and the hardly

credible testimony that she was in the forest for only a few hours or days, does not

conclusively change the manner in which the jury would view the “evidence as a whole.”

28 U.S.C. § 2244(b)(2)(B)(ii).

          To reiterate, Swearingen was the last person that Ms. Trotter was seen with

alive.20 Ms. Trotter had been in Swearingen’s truck, where he forcibly removed hair


20
          Swearingen’s briefing makes an effort to discount portions of the evidence against him, largely by
          making arguments cumulative of evidence the jury rejected. See In re Martinez, 2009 WL 585616,


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follicles. Swearingen’s histological evidence does not explain why she was in his house

that day, why it was later found to be in disarray, and why he falsely claimed that there

had been a burglary there. The evidence itself does not explain why papers belonging to

Ms. Trotter were found near the house of Swearingen’s parents and her cigarettes were in

Swearingen’s house. The new information does not explain why Ms. Trotter was found

wearing the same clothes as when she disappeared and why she had a note given to her

by a friend on December 8 in her back pocket. The new evidence does not show why cell

phone records traced Swearingen to a location near where Ms. Trotter was found.

Histology does not explain why half of a pair of pantyhose belonging to Swearingen’s

wife was found in Swearingen’s house and the other half around Ms. Trotter’s neck. The

new evidence does not explain why the same meal Ms. Trotter was last seen eating was

found in her stomach. Swearingen lied about his whereabouts, tried to fabricate an alibi,

made false police reports, fled from the police, asked friends to lie in his behalf, told

others that the police would be after him, and crafted an ultimately inculpatory letter to

throw attention away from himself. Swearingen told other inmates, “Fuck, yeah, I did

it.” Finally, Swearingen’s experts do not explain where Ms. Trotter was from December

8 until a few days before hunters found her body.



          at *2 (5th Cir. 2009) (refusing to find actual innocence based on matters that the jury had already
          considered). Swearingen also attempts to characterize as weak the evidence that he killed Ms.
          Trotter. As this Court found in the first federal habeas action, “the trial evidence supported rather
          strongly a finding that Swearingen caused Ms. Trotter’s death, [though]] the generally
          circumstantial evidence becomes less convincing with respect to the predicate offenses of
          kidnapping and aggravated sexual assault. (Swearingen v. Dretke, No. 04-cv-2058, Instrument
          No. 39 at 24). Concerns over the strength of the evidence surfaced early on as to the predicate
          offenses, but the circumstantial evidence showing his identity as the murderer was not nearly as
          tenuous as Swearingen now argues it was. See Swearingen, 101 S.W.3d at 96 (noting that the
          “evidence supporting the findings of kidnapping or sexual assault might appear weak and
          tentative when viewed in isolation”) (emphasis added). When referring to the integrity of his
          identity as the murderer, the Texas state courts have noted the “substantial amount of
          circumstantial evidence of [Swearingen’s] guilt.” Ex parte Swearingen, No. 53,613-04, at 538.



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          This is not to say that the new evidence would have been disregarded by trial

counsel. In fact, the evidence could possibly help create a stronger defense. See Herrera

v. Collins, 506 U.S. 390, 418-19 (1993) (“This is not to say that petitioner’s affidavits are

without probative value[.]”); Keith v. Bobby, 551 F.3d 555, 559 (6th Cir. 2009) (finding

that, even if new evidence inserts some questions into the proceedings, that is not the

same as “clear and convincing evidence” or dealing a “fatal blow”). But Swearingen has

not shown harmony between Dr. Carter’s autopsy observations, the trial record, and his

new evidence. Likely, some other piece of the puzzle is still missing. The state courts

which have considered Swearingen’s claims have, both in written orders and in oral

questioning, hinted that conditions on the forest floor in 1998-99 could have been cooler

and wetter than reported elsewhere. Swearingen dumped his victim in a shady, moist

forest. Perhaps the cool and dank conditions of her precise location slowed the internal

process of decomposition – a theory consistent with Dr. Carter’s autopsy description of

her body as “cool and damp.”

          But this Court’s duty is not to neatly decide which theory, if any, is more correct.

This is especially the case on habeas review where the presumption of innocence has run

its course and principles of comity, federalism, and finality of judgments lean steeply in

favor of upholding the verdict. Congress has tethered this Court’s analysis to how a

reasonable juror would view the whole of the evidence as it was at trial and as it is now.

A jury considering Swearingen’s new evidence would weigh it against the evidence

showing his involvement in Ms. Trotter’s murder. In the end, the jury would likely

consider the whole of the new scientific evidence in the context of the opinion of

Swearingen’s expert at trial: “The definition of the time of death is probably the most




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challenging question for a pathologist.      A pathologist can only provide some gross

parameters, but the reality is that the answer is one of the least dependable answers that a

pathologist can provide in regards to what he knows about death.” Tr. Vol. 31 at 71-72.

The conflicted and incomplete scientific evidence does not make the suggestion that Ms.

Trotter had only been dead two or three days a credible hypothesis for a reasonable juror

considering all the evidence.

          This is not a case where Swearingen’s evidence is so compelling that a court

cannot have confidence in the outcome of his trial. Thus, Swearingen has not met his

burden of showing that “the facts underlying the claim, if proven and viewed in light of

the evidence as a whole, would be sufficient to establish by clear and convincing

evidence that, but for constitutional error, no reasonable factfinder would have found the

applicant guilty of the underlying offense.” 28 U.S.C. § 2244(b)(2)(B)(ii).

V.        Conclusion

          This Court has reviewed Swearingen’s briefing and evidence under the AEDPA

standards. In doing so, this Court’s role has not been to substitute its own view of the

evidence, blindly adhere to the circuit court’s tentative finding, or speculate as to what

effect one piece of evidence would have made independent of all other factors. The

Court emphasizes that the statutory charge has guided the review. The Court has not and

could not engage in any adjudication of the merits which are currently beyond this

Court’s jurisdiction.

          The AEDPA places a heavy duty, independent of the Fifth Circuit’s initial review,

on an inmate to prove conclusively whether he meets the strict standards enacted by

Congress. Swearingen has simply not shown that this Court possesses any authority to




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consider the merits of his claims. See In re McGinn, 213 F.3d 884, 885 (5th Cir. 2000)

(“We do not suggest that in striving to both convict the guilty and free the innocent,

criminal process can look away from exculpatory evidence with such potential

explanatory power. Rather, we remind that this is a court of limited jurisdiction, only part

of an entire system. We are persuaded that Congress has withheld jurisdiction from this

court to grant the requested relief here.”). The AEDPA requires this Court to DISMISS

Swearignen’s successive habeas petition.

          In light of the complex record, but noting this Court’s confidence in its resolution

of this action, the Court will grant Swearingen a Certificate of Appealability because

these matters deserve appellate consideration. See 28 U.S.C. § 2253(c); FED.R.APP.P.

Rule 22(b); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (allowing a COA to issue when

the claims “presented were adequate to deserve encouragement to proceed further.”).

          SIGNED at Houston, Texas, this 18th day of November, 2009.


                                               ___________________________________
                                                        MELINDA HARMON
                                                 UNITED STATES DISTRICT JUDGE




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